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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                             Chapter 7
                                                                   Case No. 18-11535 (CTG)
THE ART INSTITUTE OF PHILADELPHIA
LLC, et al.,1                                                      (Jointly Administered)
                      Debtors.


GEORGE L. MILLER, Chapter 7 Trustee,
                                                                   JURY TRIAL DEMANDED
                                   Plaintiff,

                              v.
                                                                   Adversary Proceeding
TODD S. NELSON, JOHN R. McKERNAN,                                  No. 20-50627 (CTG)
SAMUEL C. COWLEY, EDWARD WEST,
MARK A. McEACHEN, FRANK JALUFKA,
J. DEVITT KRAMER, MARK NOVAD, JOHN
DANIELSON, AND MICK BEEKHUIZEN,


                                     Defendants.


     REPLY IN SUPPORT OF DEFENDANTS MARK McEACHEN, FRANK JALUFKA,
        AND JOHN DANIELSON’S (I) MOTION TO DISMISS FIRST AMENDED
    COMPLAINT, (II) MOTION FOR A MORE DEFINITE STATEMENT, (III) MOTION
       TO EXTEND ANSWER DEADLINE, AND (IV) JOINDER TO REQUEST FOR
                             JUDICIAL NOTICE
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1
 Due to the large number of debtors in the above-captioned jointly-administered chapter 7 cases (the “Chapter 7
Cases”), a complete list of such debtors (the “Debtors”) and the last four digits of their federal tax identification
numbers is not provided herein. Such information can be found at footnote 1 of the Complaint (as defined below).
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           Later Defendants respectfully submit this reply memorandum (the “Reply”) in support of

their opening brief [Adv. Dkt No. 103] (the “Motion”). 2 Later Defendants adopt and incorporate

by reference certain arguments set forth in the briefs filed by the other Defendants as stated herein. 3

                                               INTRODUCTION

           The Opposition fails to rebut the arguments asserted in the Motion. The Opposition

expressly concedes that certain of Trustee’s claims are deficient for the reasons stated in the

Motion. With respect to issues not expressly conceded, the Opposition either fails to address Later

Defendants’ arguments at all or fails to do so persuasively. The Motion should thus be granted.

                                      ARGUMENT & AUTHORITIES

I.         Trustee’s Avoidance Action Claims Are Deficient.

           As discussed in Section I.A and Section I.B below, Trustee’s avoidance action claims are

deficient because (i) any interest of EDMC II in the Excessive Payments was fully-encumbered

and worthless and (ii) Trustee has not established any basis for asserting avoidance action claims

on behalf of non-transferor Debtors (all Debtors other than EDMC II). In addition to the foregoing

deficiencies affecting all avoidance action claims asserted in the FAC (Claims VII, VIII, IX and

X), Trustee fails to rebut Later Defendants’ specific arguments as discussed in Section I.C through

Section I.F below.

           A.       The FAC Fails to Plausibly Allege That the Excessive Payments Constituted
                    Transfers of Any Interest of Value to Debtors’ Estates.

           All of Trustee’s remaining avoidance action claims fail because, as discussed in the

Defendants’ Briefs, see, e.g., Mot. at 4-5, 19, 22, 25-26; KN Br. at 6-12, any interest of the sole




2
    Capitalized terms not defined herein have the same meaning as in the Motion.
3
 Those briefs are being concurrently filed by John Devitt Kramer and Mark Novad (the “KN Reply”), and Edward
West and Mick Beekhuizen (the “WB Reply”, collectively, “Defendants’ Replies”).

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alleged Debtor-transferor, EDMC II, in the Excessive Payments was fully-encumbered and of no

value to EDMC II’s estate. Consequently, the estate had no interest in the transferred funds subject

to avoidance or recovery by Trustee. Trustee’s arguments to the contrary are unavailing for the

reasons set forth in the KN Reply, and largely focus on rebutting a strawman argument that

Defendants have not actually asserted (namely, that the avoidance actions themselves – as opposed

to the funds used to make the alleged avoidable transfers – were fully-encumbered). 4

        Trustee also makes the nonsensical assertion that the U.S. Bank Stipulation’s reference to

unspecified “causes of action, if any, under chapter 5 of the Bankruptcy Code,” see KN RJN Ex.

1-A ¶ 3 (emphasis added), as potential assets of Debtors’ estates somehow validates the avoidance

action claims he later filed against Defendants “because those causes of action would not even

exist unless [EDMC II] held an interest in the property for which avoidance and recovery were

sought,” see Opp’n at 16. The mere fact that the U.S. Bank Stipulation contemplated (as do

virtually all postpetition financing orders and other customary filings) that Debtors might have

avoidance action claims against one or more defendants in the future does not mean that the

particular avoidance action claims alleged in the FAC have merit.

        B.       Trustee Has No Basis for Asserting Avoidance Action Claims on Behalf of
                 Debtors Other than EDMC II.

        Despite having identified EDMC II as the sole Debtor-transferor, Trustee improperly

purports to assert all avoidance action claims in the FAC (Claims VII, VIII, IX and X) on behalf

of the estates of all of the numerous Debtors. Debtors’ estates have not been substantively

consolidated, and Trustee offers no response to Later Defendants’ argument that all avoidance



4
  Trustee continues to argue that avoidance actions were carved out of the collateral of the Debtors’ secured lenders
under the U.S. Bank Stipulation. But as explained in the very footnote of the KN Brief cited in the Opposition, Opp’n
at 16 (citing KN Brief at p.14 n.9), this argument (which Defendants never disputed) misses the point because
Defendants are focused on the secured lenders’ liens on Debtors’ funds rather than any liens on avoidance actions.

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action claims must be dismissed to the extent asserted on behalf of non-transferors. See Mot. at 4-

5, 19, 22, 25-26. All avoidance action claims should therefore be dismissed with prejudice to the

extent asserted on behalf of Debtors other than EDMC II.

       C.      Trustee’s Claim to Avoid the January 15, 2016 Payment to McEachen under
               11 U.S.C. § 548(a)(1)(B) (Claim VII) Is Time-Barred.

       The FAC asserted a claim to avoid the January 15, 2016 payment to McEachen under

section 548(a)(1)(B) despite Trustee’s prior concession that such claim was time-barred because

the alleged transfer was made more than two years before the Petition Date. See Mot. at 19.

Trustee concedes this claim was (again) pled in error. Opp’n at 24 n.17. The claim to avoid the

January 15, 2016 payment to McEachen under Claim VII should thus be dismissed with prejudice.

       D.      Trustee’s Preference Claims under 11 U.S.C. § 547(b) (Claim VIII) Fail for
               Lack of an Antecedent Debt Owed to the Debtor and Lack of Reasonable Due
               Diligence, and Are Time-Barred with Respect to the February 2, 2018
               Payment to McEachen.

       With respect to Trustee’s claims under Claim VIII, as asserted in the Motion, see Mot. at

20-22, such claims are deficient for several reasons (in addition to those set forth above).

       First, Trustee fails to adequately allege an antecedent debt as required under section 547.

See Miller v. Easy Star Records (In re DA Liquidating Corp.), 622 B.R. 172, 176 (Bankr. D. Del.

2020) (“[T]o survive a motion to dismiss, a preference complaint must include [among other

information] . . . an identification of the nature and amount of each antecedent debt[.]”); see also,

e.g., Stanziale v. DMJ Gas-Mktg. Consultants, LLC (In re Tri-Valley Corp.), 2015 WL 110074, at

*4 (Bankr. D. Del. Jan. 7, 2015) (dismissing complaint for failure “to allege sufficient facts

detailing the nature of the alleged antecedent debt”); TWA Inc. Post Confirmation Estate v. Marsh

USA Inc. (In re TWA Inc. Post Confirmation Estate), 305 B.R. 228, 232-233 (Bankr. D. Del. 2004)

(dismissing preference complaint based on, inter alia, “failure to provide the nature and amounts

of the debts”). Contrary to Trustee’s assertion, Opp’n at 19-20, merely pleading that the Excessive

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Payments were bonus payments made pursuant to unspecified employment contracts does not

suffice to establish that such payments were “for or on account of an antecedent debt owed by the

debtor before such transfer was made.”

       Trustee argues that “debt” is broadly construed under bankruptcy law such that a debt for

a bonus arises when the relevant contract or bonus plan is put in place. See Opp’n at 19. Even

accepting this assertion as true, it does not save Trustee’s claims. As discussed in the Motion and

the KN Brief, the mere fact that a payment was allegedly made pursuant to a contract does not

establish that the payment was made on account of an antecedent debt. See Mot. at 20-22; KN Br.

at 20-21; Burtch v. Huston (In re USDigital, Inc.), 443 B.R. 22, 37-38 (Bankr. D. Del. 2011)

(dismissing § 547(b) claims for failure to adequately plead existence of antecedent debt where

terms of contracts indicated that payment obligations arose simultaneously with or after challenged

transfers); THQ Inc. v. Starcom Worldwide, Inc. (In re THQ Inc.), 2016 WL 1599798, at *3 (Bankr.

D. Del. Apr. 18, 2016) (dismissing preference claims where complaint “merely” alleged that

defendants “may have entered into one or more agreements” for services with “one or more of the

Debtors”); Off. Comm. of Unsecured Creditors of Washington Mut., Inc. v. Corcoran (In re

Washington Mut., Inc.), 2013 WL 3757330, at *4 (Bankr. D. Del. Jul. 16, 2013) (explaining, in

dismissing § 547(b) claim, “[b]ecause the severance was paid on the same date that [the debtor’s]

obligation arose, the Court finds that the severance payment was not made on account of an

antecedent debt”); see also Anderson News, LLC v. The News Group, Inc. (In re Anderson News,

LLC), 2012 WL 3638785, at *2 (Bankr. D. Del. Aug. 22, 2012) (“Payment of a debt on the date it

was incurred is generally not for or on account of an antecedent debt.”). The FAC concedes the

existence and validity of employment agreements, but does not identify the dates of any of the

relevant contracts nor the terms pursuant to which the Excessive Payments were made, and thus



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fails to establish that any debts under the contracts were, in fact, antecedent to the payments. The

FAC is also devoid of details about the alleged antecedent debt amounts.

       Additionally, Trustee’s vague allegation that EDMC II made the Excessive Payments “on

account of antecedent debts owed by the Debtors” does not establish that any antecedent debt was

owed “to the debtor” – i.e., the specific Debtor-transferor – as required under section 547(b). See

Mot. at 22; In re Tri-Valley Corp. 2015 WL 110074, at *3 (“When there are multiple debtors in a

case, the [c]omplaint must state which debtor owed the antecedent debt and that the same debtor

made the preferential transfer.”); accord In re THQ Inc., 2016 WL 1599798, at *3; see also, e.g.,

Gellert v. The Lenick Co. (In re Crucible Materials Corp.), 2011 WL 2669113, at *4 (Bankr. D.

Del. Jul. 6, 2011) (dismissing preference claims for failure to adequately allege antecedent debt

where complaint stated that “[t]he Transfers were for, or on account of, antecedent debts owed by

one or more of the Debtors before the Transfers were made”). The Opposition does not address,

much less refute, Later Defendants’ arguments regarding these defects.

       Trustee also fails to state a claim under Claim VIII with respect to the February 2, 2018

payment to McEachen. As noted in the Motion, Mot. at 22-23, this payment is not avoidable under

section 547(b) because the alleged transfer occurred more than ninety days before the Petition Date

and McEachen is not alleged to have been an insider when the transfer was made. See 11 U.S.C.

§ 547(b)(4)(B). Trustee does not contend that McEachen was an insider when the payment was

made and acknowledges that “cases have held that insider status for the recipient of a preference

claim should be determined by the exact date of the transfer.” He nonetheless argues that this

Court should import the approach used by certain courts applying section 548(a)(1)(B)(ii)(IV) –

which, unlike section 547(b), does not expressly require insider status “at the time of the transfer”

– and instead look to insider status on the date the transfer was arranged. As shown in the Motion,



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this approach is inconsistent with the case law and the statutory text of section 547(b). See Mot.

at 22-23; see also, e.g., Jahn v. Char (In re Incentium, LLC), 473 B.R. 264, 272-273 (Bankr. E.D.

Tenn. 2012) (rejecting plaintiff’s argument that “a transferee need not be an insider at the time the

transfer was made so long as he was an insider at the time the transfer is arranged” and finding

that requiring insider status on the date the transfer was made is “consistent with virtually all of

the cases that have examined the issue in the last twenty years” and “based on a straightforward

reading of the statute”), aff’d on other grounds, 2013 U.S. Dist. LEXIS 193085 (E.D. Tenn. Mar.

7, 2013). Moreover, even Trustee’s incorrect approach would not save the claims in the FAC

because Trustee has not identified when any of the alleged antecedent debts arose, and thus has

not alleged that McEachen was an insider when the February 2, 2018 payment was arranged. Thus,

the claim to avoid the February 2, 2018 payment to McEachen under section 547(b) is time-barred

and should be dismissed with prejudice.

       Finally, Trustee fails to adequately allege “reasonable due diligence” as required under

section 547(b) of the Bankruptcy Code. Trustee devotes several pages of his Opposition to arguing

that the “reasonable due diligence” requirement does not obligate him to “plead extensive facts

refuting potential defenses or prove the inapplicability of defenses.”        See Opp’n at 10-14.

However, this misguided response does not address Later Defendants’ primary arguments. See

Mot. at 23-24. Trustee has not satisfied the reasonable due diligence requirement because, as set

forth above, Trustee’s allegations regarding the Excessive Payments are so lacking in detail that

they fail to establish basic elements of Trustee’s preference claims – i.e., that the payments were

made “for or on account of an antecedent debt owed by the debtor before such transfer was made,”

11 U.S.C. § 547(b)(2), and that the creditor for whose benefit the transfer was made “at the time

of such transfer was an insider” (for transfers made 90 days to one year before the Petition Date),



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id. § 547(b)(4)(C) – as to which Trustee bears the burden of proof, see id. § 547(g) (providing that

“the trustee has the burden of proving the avoidability of a transfer under subsection (b) of this

section”). Further, while Trustee contends that he is only required to “consider,” not actively

rebut, potential affirmative defenses, see Opp’n at 12, newly-added paragraph 199 of the FAC is

still deficient because Trustee’s baseless and inaccurate assertion therein that “[Defendants] were

running an essentially illegal business and made the Excessive Payments to themselves as the

Debtors were struggling to operate and preparing for bankruptcy,” even if accepted as true, does

not establish Trustee’s consideration of all affirmative defenses under section 547(c), such as

arguments that the Excessive Payments were contemporaneous exchanges for new value under

section 547(c)(1)(A) or that Defendants subsequently gave new value to or for the benefit of the

debtor after such payments entitling them to protection under section 547(c)(4).

       E.      Trustee’s Claims under 6 Del. C. § 1305(b) (Claim IX) Are Not Properly Pled,
               Fail for Lack of an Antecedent Debt and Are Time-Barred with Respect to the
               January 15, 2016 Payment to McEachen.

       Claim IX of the FAC purports to assert claims under “6 Del. Code § 1305,” but does not

specify whether Trustee is asserting claims under section 1305(a) (traditional constructive

fraudulent transfer claims), section 1305(b) (insider preference claims), or both. In the Opposition,

Trustee asserts that he is pursuing claims under both subsections of section 1305 in the FAC. See

Opp’n at 27-28. Trustee’s claims under section 1305(b) are not properly pled because Claim IX

does not even specifically address, much less adequately allege, the elements of a claim under

section 1305(b), and because Trustee fails to establish an “antecedent debt” (as required under

section 1305(b)) for the reasons stated above with respect to Claim VIII. See Mot. at 25-26.

       In addition, Trustee does not dispute that, as asserted in the Motion, id. at 26, any claim to

avoid the January 15, 2016 payment to McEachen under section 1305(b) is time-barred because

the alleged transfer was made more than one year before the Petition Date. See 6 Del. C. § 1309(3);
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Opp’n at 28 (asserting that FAC stated a claim “[w]ith respect to the transfers made to McEachen,

Jalufka, Danielson, Kramer, and Novad during 2017 and 2018 (all of which were made within one

year of the Petition Date)” (emphasis added)); compare FAC ¶ 212 (purporting to seek avoidance

of all Excessive Payments, not merely those made within one year of the Petition Date). Such

claim should therefore be dismissed with prejudice.

       F.      Trustee’s Claims under 11 U.S.C. § 550 (Claim X) Improperly Seek Recovery
               Based on Previously-Dismissed Causes of Action.

       Claim X should be dismissed with prejudice. In addition to suffering from the deficiencies

affecting all avoidance action claims identified in Section I.A (worthless nature of EDMC II’s

property interest in the alleged transfers) and Section I.B (improper assertion of claims on behalf

of non-transferor Debtors), Claim X improperly asserts claims for recovery based on previously-

dismissed avoidance action claims that have not been repled, including actual fraudulent transfer

claims under section 548(a)(1)(A) of the Bankruptcy Code and actual fraudulent transfer claims

under section 544(b) of the Bankruptcy Code and section 1304(a)(1) of the DUFTA. See Mot. at

27; FAC ¶¶ 180-184, 201-212, 213-216.

II.    Trustee’s Breach of Fiduciary Duty and Civil Conspiracy Claims Are Deficient.

       A.      Claims against Later Defendants for Alleged Breaches of Fiduciary Duties
               (Claim I) Occurring before Later Defendants Allegedly Became Fiduciaries
               Should Be Dismissed.

       In the Motion, Later Defendants showed that claims against them for alleged breaches of

fiduciary duties before they allegedly became fiduciaries of any Debtor should be dismissed

because (i) Later Defendants could not breach fiduciary duties they did not yet have and/or (ii)

such claims were time-barred to the extent they were asserted against McEachen and Danielson

for breaches of fiduciary duties to EDMC or the Delaware Holding Companies occurring prior to

April 2015 (outside the applicable statutes-of-limitations under both Delaware and Pennsylvania


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law) or against Jalufka for breaches of fiduciary duties to EDMC occurring prior to January 2016

(outside the applicable statute-of-limitations under Pennsylvania law). Mot. at 12-15.

       Trustee “does not disagree” with the general proposition that Later Defendants cannot be

held liable for actions taken before they became fiduciaries, but argues that Later Defendants may

still be held liable for their alleged breaches and failure to remedy predecessors’ prior breaches

during the period when Later Defendants were fiduciaries of Debtors, noting that the Court

previously declined to dismiss breach of fiduciary duty claims against Defendants who served as

a fiduciary of a Delaware Debtor within three years before the Petition Date or a Pennsylvania

Debtor within two years before the Petition Date. See Opp’n at 29-31, 35. This response fails to

show that Later Defendants can be liable for actions taken before they became fiduciaries.

       The claims asserted in Count I of the FAC are not limited to the narrow subset of claims

as to which the Court denied dismissal in the Memorandum Opinion – namely, claims against

Later Defendants for their alleged breaches in “implement[ing], or fail[ing] to reform, unlawful

compensation and recruiting practices.” Mem. Op. at 16. Rather, the FAC continues to improperly

assert vague claims against unspecified “Defendants” for alleged breaches of fiduciary duties to

“Debtors” during a period commencing nearly a decade before Later Defendants had any

involvement with any Debtors. See, e.g., FAC ¶¶ 73, 104-105, 156-160. The Qui tam Actions

giving rise to the 2015 Settlements – which, of Trustee’s own admission, “focused primarily on

violations . . . between 2003 and 2011,” Opp’n at 5 – were filed years before Later Defendants

joined the Debtors, and the 2015 Settlements were finalized shortly after McEachen and Danielson

joined the Debtors and before Jalufka joined the Debtors. Trustee does not allege that the 2015

Settlements were themselves improper. Thus, the allegations giving rise to the overwhelming




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majority of Trustee’s asserted damages (roughly $200 million paid in connection with the 2015

Settlements) simply have nothing to do with Later Defendants.

       The claims alleged against Later Defendants for Later Defendants’ own alleged breaches

during their respective roles as fiduciaries are separate and distinct from (and decidedly more

limited than) any alleged breaches of fiduciary duties by their various predecessors. Trustee

alleges, in conclusory fashion, that Later Defendants breached their fiduciary duties by failing to

cause certain Debtors to investigate and assert claims against those responsible for the conduct

giving rise to the 2015 Settlements, see Opp’n at 35 (citing FAC ¶ 21) and by “implement[ing], or

fail[ing] to reform, unlawful compensation and recruiting practices,” see id. (quoting Mem. Op. at

16). These claims against Later Defendants, which lack meaningful factual support or alleged

damages, are not coextensive with claims for the alleged breaches of fiduciary duties that gave rise

to the 2015 Settlements, and should not be permitted to be pled as such in the convoluted FAC.

       With respect to the period during which Later Defendants allegedly served as fiduciaries

of certain Debtors, the only alleged actual damages are (i) the Excessive Payments (as to which

the Court dismissed Trustee’s unjust enrichment and corporate waste claims) and (ii) unquantified

“damages for the destruction of the Company” (as to which the Court noted there were “questions

about how the alleged breaches may have given rise to claims for damages” “once the debtors

began to wind down their operations and liquidate their business,” see Mem. Op. at 23-24). By

obscuring who did what when throughout the FAC, Trustee seeks to treat these flimsy claims

against Later Defendants as functionally indistinguishable from claims against other Defendants

for hundreds of millions of dollars based on years of alleged conduct that predated Later

Defendants’ involvement (with respect to which any claims against Later Defendants are both




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meritless given Later Defendants’ lack of fiduciary duties at the time and largely time-barred).

This is improper.

       Nothing in the Memorandum Opinion allows Trustee to assert breach of fiduciary duty

claims against Later Defendants for the period predating their involvement with the Debtors.

While claims against Later Defendants for alleged breaches of their fiduciary duties to Delaware

Debtors within three years before the Petition Date or Pennsylvania Debtors within two years

before the Petition Date may be sufficient – solely for motion-to-dismiss purposes – under the

reasoning of the Memorandum Opinion, claims against Later Defendants for alleged breaches

predating Later Defendants’ roles as fiduciaries are deficient both because (a) Later Defendants

were not fiduciaries (and thus had no fiduciary duties to breach) at that time, and (b) such claims

are time-barred, to the extent the claims are premised on alleged breaches of fiduciary duties to

Delaware Debtors more than three years before the Petition Date or Pennsylvania Debtors more

than two years before the Petition Date. Claims against Later Defendants for alleged breaches

predating their roles as fiduciaries should thus be dismissed with prejudice.

       B.      A More Definite Statement Is Warranted as to Trustee’s Remaining Breach of
               Fiduciary Duty Claims (Claim I).

       In addition to seeking dismissal of select claims in Claim I, Later Defendants also moved

for a more definite statement pursuant to Rule 12(e) of the Federal Rules of Civil Procedure as to

all claims in Count I (to the extent not dismissed pursuant to the Motion and Defendants’ Briefs)

clarifying, at a minimum, (1) the capacity in which Trustee is bringing such claims, (2) to whom

the duties allegedly breached by each Later Defendant were purportedly owed, (3) which alleged

breaches were committed by Later Defendants, (4) during which period such alleged breaches

were committed, and (5) the state of formation of any relevant entities.




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         Trustee asserts that a more definite statement is not necessary because the FAC is not so

unintelligible as to prevent Later Defendants from framing a responsive pleading, and further

asserts that such relief concerns “breach of fiduciary duty claims which the Court has already

determined are sufficiently stated.” Opp’n at 41-42. 5 However, Trustee ignores the fact that it is

Trustee’s own failure to adequately conform the FAC to the Court’s rulings that precipitated the

motion for a more definite statement. In the Memorandum Opinion, the Court dismissed all breach

of fiduciary duty claims other than breach of fiduciary duty claims against Defendants alleged to

have served as fiduciaries of a Delaware Debtor within three years before the Petition Date or a

Pennsylvania Debtor within two years before the Petition Date. As noted above, the FAC does

not merely assert this limited subset of surviving claims, but restates the original vague morass of

claims asserted on behalf of unspecified “Debtors” (whose jurisdiction of formation is not

identified in many instances) against unspecified “Defendants,” which claims involve breaches

that largely predate Later Defendants’ alleged roles as fiduciaries.

         The Court has discretion to require a more definite statement under Rule 12(e), see, e.g.,

Colon v. Anglikowski, 2020 WL 5107551, at *1 (W.D. Pa. Aug. 31, 2020) (“The decision to grant

a motion for a more definite statement is committed to the discretion of the . . . court.” (quoting

Woodward v. FedEx Freight E., Inc., 250 F.R.D. 178, 182 (M.D. Pa. 2008))); Sama v. Mullaney

(In re WonderWork, Inc.), 626 B.R. 94, 135 (Bankr. S.D.N.Y. 2020) (noting that “[t]he decision

to order a more definite statement is within the Court’s discretion”). Such relief is warranted here


5
  While Trustee points to the fact that the Court previously sustained certain of his claims under Count I, Opp’n at 42,
this fact does not preclude Later Defendants’ requested relief. See In re WonderWork, Inc., 626 B.R. at 135 (“Although
the Court previously sustained portions of the fraudulent transfer claims in the Prior Decision, the Court now
concludes that it overlooked a fatal deficiency in the Complaint and will grant [defendant’s] alternative request to file
a more definite statement . . . solely with respect to the fraudulent transfer claims [asserted in the amended
complaint].”); see also, e.g., Clark v. McDonald’s Corp., 213 F.R.D. 198, 233 (D.N.J. 2003) (“A plaintiff’s compliance
with the ‘short and plain statement’ standard of Rule 8(a)(2), and success in stating a claim upon which relief may be
granted under Rule 12(b)(6), does not insulate its pleading from a well-grounded motion for a more definite statement
under Rule 12(e).”).

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because Later Defendants should not be forced to guess at which of Trustee’s numerous allegations

actually relate to each of Later Defendants or which Debtors each Later Defendant allegedly

breached duties to. See, e.g., Liquidating Tr. of App. Fuels Creditors Trust v. Energy Coal Res.,

Inc. (In re Appalachian Fuels, LLC), 2012 WL 4059948, at *5 (Bankr. E.D. Ky. Sept. 14, 2012)

(granting motion for more definite statement where defendants were “left to guess” whether

undefined names in complaint referred to “the same group of individuals or differing groups”);

Alberts v. Tuft (In re Greater Se. Cmty. Hosp. Corp.), 333 B.R. 506, 531 n.31 (Bankr. D.D.C.

2005) (noting that court would “view favorably” a Rule 12(e) motion where complaint “refer[red]

repeatedly to ‘the Debtors’ collectively, without establishing . . . that harms suffered by one debtor

harmed the others”).6 Later Defendants’ motion for a more definite statement should be granted

as to any claims in Count I against Later Defendants that are not dismissed.

         C.       Trustee’s Claims against Later Defendants for Civil Conspiracy (Claim III)
                  Occurring before Later Defendants Allegedly Became Fiduciaries of Debtors
                  Fail for Lack of an Underlying Tort or Other Cause of Action.

         Trustee does not challenge, and thus effectively concedes, Later Defendants’ assertion that

the FAC fails to plausibly allege that Later Defendants were involved in any civil conspiracy

before they became fiduciaries of Debtors (during which time Later Defendants are not alleged to

have had any involvement with Debtors or other Defendants). Consistent with the Memorandum

Opinion, any civil conspiracy claims against Later Defendants for the period before Later




6
  The two cases cited by Trustee for the general proposition that Rule 12(e) motions are “not favored” and “not a
substitute for discovery,” see Opp’n at 41-42, are readily distinguishable as they did not involve the type of pervasive
deficiencies present here, see In re USDigital, Inc., 443 B.R. at 53 (denying Rule 12(e) motion where defendants
argued that complaint “fail[ed] to specify what ‘business opportunity/concept, intellectual property rights, all work
product, and all software and hardware’ was allegedly taken from [debtor] to [defendant]”); Bausch & Lomb Inc. v.
SBH Holdings LLC, 2022 WL 856750, at *5 (D. Del. Mar. 23, 2022) (denying Rule 12(e) motion as to patent
infringement claims asserted by two non-debtor plaintiffs against a single defendant where complaint set forth specific
factual allegations regarding products and patents involved). Thus, these cases do not support denial of Later
Defendants’ requested relief.

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Defendants became fiduciaries fail for lack of an underlying tort or other cause of action because

the FAC fails to state a breach of fiduciary duty claim against Later Defendants for that period.

         All claims against Later Defendants for civil conspiracy occurring before Later Defendants

allegedly became fiduciaries should be dismissed with prejudice.

III.     A More Definite Statement Is Warranted with Respect to Previously-Dismissed
         Claims Not Revived through Amendments.

         As to all fully-dismissed Claims (Claims II, IV, V, and VI) and partially-dismissed Claims

(Claims I, III, and IX) that Trustee is not seeking to revive through amendments, Later Defendants

moved for a more definite statement clarifying that not only are such dismissed claims included

“solely for the purpose of preserving the Trustee’s appellate rights,” but for all other purposes,

such claims shall be disregarded as dismissed and, notwithstanding anything in the FAC to the

contrary, any allegations with respect thereto shall not be incorporated by reference into other

sections of the FAC. Again, this request for relief was precipitated by Trustee’s use of incomplete

and inconsistent footnotes in the FAC to identify dismissed claims in lieu of actual amendments

striking those claims. Trustee does not claim that Later Defendants’ requested clarifications are

inaccurate, but asserts that a more definite statement is unnecessary because the existing footnotes

in the FAC are adequate. Contrary to Trustee’s assertion, the requested clarifications are necessary

and appropriate because the existing footnotes are ambiguous and create needless uncertainty and

confusion as to the status of Trustee’s claims. 7

         Later Defendants’ motion for a more definite statement as to all claims in fully-dismissed

Claims (Claims II, IV, V, and VI) and partially-dismissed Claims (Claims I, III, and IX) that


7
  As noted in the Motion, Mot. at 27-28, there are multiple deficiencies with respect to the existing footnotes. For
example, the footnote to Claim III states that Defendants need not plead to the entire claim even though only a portion
of the claim was previously dismissed, and Claim X contains no footnotes clarifying that any previously-dismissed
claims included therein are included solely for purposes of appellate rights despite the fact that Claim X purports to
seek recovery on account of previously-dismissed actual fraudulent transfer claims.

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Trustee is not seeking to revive through amendments should be granted.

IV.    The KN RJN Should Be Granted.

       In the Motion, Later Defendants joined in the KN RJN in connection with their argument

that Trustee’s avoidance action claims fail because any interest of EDMC II in the funds used for

the Excessive Payments was fully-encumbered. The KN RJN should be granted for the reasons

set forth in the KN Reply, which arguments are adopted and incorporated by reference herein.

V.     Later Defendants’ Deadline to Respond to the FAC Should Be Extended.

       In their Motion, Later Defendants asserted that their April 1, 2022 deadline to answer or

otherwise respond to the FAC had been automatically tolled by the filing of the Motion, but

requested, out of an abundance of caution, an extension of that deadline through and including the

earlier of (i) the date that is forty-five (45) days after Trustee files an amended complaint providing

a more definite statement as requested in the Motion or (ii) such deadline as may be set by the

Court for the other Defendants to answer or otherwise respond to any claims not dismissed

pursuant to the Motion and Defendants’ Briefs. Trustee has not opposed this request, and Later

Defendants respectfully submit that it should be granted accordingly.

                                          CONCLUSION

       For the foregoing reasons, Later Defendants respectfully request that the Court grant their

Motion in its entirety.


 Dated June 15, 2022              s/____Sean M. Beach_________________________________

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